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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF SOUTH DAKOTA
                          WESTERN DFVISION


  IN THE MATTER OF A GRAND JURY .CASE NUMBER 17-mc-00029
 INVESTIGATION OF FACEBOOK
 ACCOUNTS ORDER TO EXTBNP
                           ORDER TO SEAL


     The United States having moved this Court for an order sealmg this


matter, and good cause having been shown therefor, it is hereby

      ORDERED that this matter be sealed for 180 days to be automatically


unsealed by the Clerk of Courts thereafter unless otherwise ordered by the


Court.


      Dated this ^Wt day of October, 2018.

                                    BY THE COURT:



                                    Daneta WoUmann
                                    United States Magistrate Judge
